838 F.2d 466Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Vincent Dean JOHNSON, Plaintiff-Appellant,v.Clifton DAVENPORT;  Billie Postel, Defendants-Appellees.
    No. 87-7703.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 28, 1987.Decided:  Jan. 22, 1988.
    
      Vincent Dean Johnson, pro se.
      Lucien Capone, III, Assistant Attorney General, for appellees.
      Before WIDENER, CHAPMAN, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Vincent Johnson, a North Carolina inmate, appeals the district court's dismissal of his 42 U.S.C. Sec. 1983 complaint.  We affirm.
    
    
      2
      Johnson's complaint was referred to a magistrate for review pursuant to 28 U.S.C. Sec. 6536(b)(1)(B).  On August 6, 1987, the magistrate filed his report recommending that the complaint be dismissed.  Johnson was sent a copy of the magistrate's recommendation along with notification that failure to object to the magistrate's report within 10 days would result in waiver of his right to appeal the district court's judgment.  See 28 U.S.C. Sec. 636(b)(1)(c).  Johnson failed to file objections.  On August 31, 1987, the district court adopted the recommendation of the magistrate and dismissed the complaint.  Johnson appealed.
    
    
      3
      The failure to timely object to a magistrate's report and recommendation waives appellate review of the substance of that report if notification was given as to the need to timely object.  Wright v. Collins, 766 F.2d 841 (4th Cir.1985);  United States v. Schronce, 727 F.2d 91 (4th Cir.), cert. denied, 467 U.S. 1208 (1984).  See Thomas v. Arn, 474 U.S. 140 (1985).  Johnson was given notification but, nevertheless, he failed to timely object.  Therefore, he has waived appellate review.
    
    
      4
      Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment of the district court.
    
    
      5
      AFFIRMED.
    
    